             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



UNITED STATES OF AMERICA,                 Case No. 1:24-cv-00710-WO-
et al.,                                   JLW

           Plaintiffs,                    DEFENDANT WILLOW BRIDGE
v.                                        PROPERTY COMPANY, LLC’S
                                          MEMORANDUM IN SUPPORT OF
                                          MOTION TO DISMISS
REALPAGE, INC., et al.,                   PLAINTIFFS’ AMENDED
                                          COMPLAINT
           Defendants.



     Defendant Willow Bridge Property Company, LLC (“Willow

Bridge”) joins in full the Motion to Dismiss filed by the

Customer-Defendants and for the additional reasons below,

pursuant to Federal Rule of Civil Procedure 12(b)(6), asks

the Court to dismiss Plaintiffs’ Amended Complaint (“FAC”).

                     I.       STATEMENT OF FACTS

     Plaintiffs’    claims      against    Willow    Bridge     should        be

dismissed in their entirety because Plaintiffs fail to allege

any improper Willow Bridge conduct—much less conduct that

violates the antitrust laws. According to Plaintiffs: (1)

Willow Bridge shared information via RealPage (Count 1) and

agreed with RealPage to consider its recommended rent prices


                                    1

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at     some    Willow     Bridge-managed          properties        (Count     2),

influenced in part by the knowledge that other property

managers also received recommendations from RealPage, FAC ¶¶

19,     26,   31,   33,   122,   169;       (2)   Willow   Bridge     employees

occasionally        communicated    with      industry     peers    to   discuss

market trends, id. at ¶¶ 87–89, 93, 96–97; (3) Willow Bridge

employees participated in trade groups and industry events

that, at times, involved discussions of market trends, id. at

¶¶ 102–17; and (4) the aforementioned conduct occurred during

a period of time that experienced generalized, nationwide

increases in the cost of housing.

       Plaintiffs’        allegations         reflect       unilateral         and

independent conduct that Willow Bridge took in its own self-

interest to compete in the market.

                          II. QUESTION PRESENTED

       Whether      Plaintiffs     have      stated    plausible      antitrust

claims against Willow Bridge under either Count 1 or Count 2.




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                                III. ANALYSIS

      Even if the facts alleged by Plaintiffs are true,1 the

FAC fails as a matter of law as to Willow Bridge because it

fails “to state a claim upon which relief can be granted.”

Jien v. Perdue Farms, Inc., No. 1:19-CV-2521-SAG, 2020 U.S.

Dist. LEXIS 169582, at *18 (D. Md. Sept. 16, 2020).

    A. Plaintiffs’      Claims      Against        Willow         Bridge      Are

      Insufficient.

      To support either of their claims against Willow Bridge,

Plaintiffs must plausibly allege (1) an agreement and (2)

anticompetitive       effects     flowing   from       that    agreement.         15

U.S.C. § 1; see also SD3, LLC v. Black & Decker (U.S.) Inc.,

801    F.3d    412,   423–24,      432–33       (4th    Cir.      2015).    They

sufficiently allege neither.

      The FAC names multiple defendants but fails to allege

particular facts against Willow Bridge. See SD3, 801 F.3d at

422–23. Plaintiffs’ “conclusory allegation[s] of agreement at

some unidentified point [do] not supply facts adequate to




1 Willow Bridge accepts as true the facts alleged against it
in the Complaint only for purposes of this motion.

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show illegality.” See Bell Atl. Corp. v. Twombly, 550 U.S.

544, 557 (2007); see also id. at 424.

       Because Plaintiffs benefited from a significant pre-

filing investigation, their pleading deficiencies deserve no

deference. Cf. Robertson v. Sea Pines Real Est. Cos., 679

F.3d     278,    291    (4th     Cir.     2012)    (“The      requirement          of

nonconclusory        factual     detail     at    the   pleading      stage        is

tempered by the recognition that a plaintiff may only have so

much information at his disposal at the outset.”). Plaintiffs

fail plausibly to connect Willow Bridge to either an agreement

via RealPage to exchange information with its competitors

(Count 1) or with RealPage to align prices (Count 2).2

       The FAC’s specific allegations as to Willow Bridge fall

into three buckets, each of which is irrelevant to Plaintiffs’

case. First, Plaintiffs include allegations regarding Willow

Bridge’s      unilateral    business        conduct     and   advice     to    its

clients. See FAC ¶¶ 19, 26, 31, 33, 93, 122, 169, 199, 207.

In     one    such     allegation,      for      example,      Willow     Bridge




2 Any reference to unidentified “landlords” is impermissible
group pleading and cannot be used to establish sufficient
allegations against Willow Bridge. See SD3, 801 F.3d at 423;
see also Jien, 2020 U.S. Dist. LEXIS 169582, at *20–21, *31.

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communicated with another property manager to assist a common

client in making a more efficient software transition. Id. ¶

93.    This   has    nothing    to   do   with    the    alleged      unlawful

agreements.

      Second, Plaintiffs allege that Willow Bridge employees

occasionally communicated with industry peers. Id. ¶¶ 87–89,

96–97. Plaintiffs allege that a Willow Bridge employee once

discussed the functionality of RealPage’s auto-accept feature

with a peer. Id. ¶ 87. Plaintiffs further allege that at the

beginning     of    the   COVID-19   pandemic,      a   Pinnacle      employee

suggested organizing a call regarding market conditions to a

Willow Bridge employee. Id. ¶ 88. There is no allegation in

the FAC that such a call ever happened.3 Finally, Plaintiffs

allege that other property managers obtained Willow Bridge’s

strategic plans to respond to the COVID-19 pandemic, but they

do not allege that Willow Bridge supplied those plans to them.

Id. ¶ 89. None of these allegations has any bearing on either

an alleged agreement to share information or align prices via

RealPage’s RMS.



3Plaintiffs’ failure to even allege on information and belief
that a call ever occurred calls into question the merit of
the original allegation.

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    Finally, Plaintiffs allege that Willow Bridge employees

participated in RealPage “user group” meetings that involved

discussions of market trends. Id. ¶¶ 97, 109–10. But merely

having employees present at a meeting does not plausibly

suggest an unlawful agreement.

    Plaintiffs        further    do      not    plausibly        allege     parallel

conduct. As to Count 1, nothing in the FAC suggests that

Willow    Bridge      licensed      or       used   RealPage’s          RMS     in      a

suspiciously       similar    way     to       another      Customer-Defendant.

Similarly, as to Count 2, Plaintiffs fail to allege parallel

conduct that suggests a vertical agreement to align rental

prices with its competitors. Rather, Plaintiffs rely upon

Willow Bridge’s mere license of the RMS software, a widely

available    and    customizable         commercial         product      that    left

Willow Bridge with pricing discretion. That is not enough.

See Gibson v. Cendyn Grp., LLC, No. 2:23-cv-00140-MMD-DJA,

2024 WL 2060260, at *6 (D. Nev. May 8, 2024).

    The     ordinary    conduct       described        in    the     FAC—which         is

consistent     with    Willow       Bridge’s        lawful,        rational,         and

competitive     behavior—cannot              subject        it     to     antitrust

liability. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); see



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also Jien v. Perdue Farms Inc., No. 1:19-CV-2521-SAG, 2022

U.S. Dist. LEXIS 128686, at *34 (“An inference of a mere

possibility       of   misconduct      is    insufficient        to    support       a

plausible claim.”).

      Finally, the FAC is remarkable in its silence as to the

specifics     (with    whom,    what,       and   when?)    regarding       Willow

Bridge’s involvement in either alleged agreement. Both Willow

Bridge and the court are left to guess as to key aspects of

the     alleged    agreements        that    Willow      Bridge       purportedly

participated in, and for this additional reason, the FAC

should be dismissed against Willow Bridge. See Jien, 2020

U.S. Dist. LEXIS 169582, at *28 (dismissing complaint that

“furnishe[d]      no   clue”    as    to    which    defendants        supposedly

agreed to conspire). At bottom, Plaintiffs have failed to

plead    a   meeting    of   the     minds    or    a   preceding       agreement

sufficient to survive dismissal, as required under Twombly

and its progeny. See 550 U.S. at 556–57; SD3, 801 F.3d at

422–23; Robertson, 679 F.3d at 289.

                               IV. CONCLUSION

        Plaintiffs’     allegations         against      Willow       Bridge     are

insubstantial, indeterminate, and conclusory and should be



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dismissed. Twombly, 550 U.S. at 557. Despite Plaintiffs’

access   to   extensive    pretrial    discovery     –   including       the

deposition of a Willow Bridge witness and Willow Bridge’s

production of millions of pages of documents – the FAC makes

threadbare    allegations     about    Willow     Bridge’s      purported

agreements    to   exchange   information     and   align     prices     via

RealPage. See SD3, 801 F.3d at 424; Robertson, 679 F.3d at

291; Jien, 2020 U.S. Dist. LEXIS 169582, at *21. This is

unacceptable, and for the reasons discussed (as well as those

in the Joint Motion to Dismiss), the FAC should be dismissed

as to Willow Bridge.

    This 11th day of April 2025.

                   V.     CERTIFICATE OF WORD COUNT

    Counsel certifies that this brief is 1,242 words in

compliance with Local Rule 7.3(d)(1). Counsel understands

that Defendants’ briefing cumulatively is under 22,000 words,

as agreed with Plaintiffs and ordered by the Court.




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                     CERTIFICATE OF SERVICE
    I hereby certify that on this 11th day of April 2025, I

filed the foregoing document titled DEFENDANT WILLOW BRIDGE

PROPERTY COMPANY, LLC’S MOTION TO DISMISS PLAINTIFFS’ AMENDED

COMPLAINT using the Court’s CM/ECF system which will send

notification to all counsel of record.

                                       /s/ Eric Steven Goodheart
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